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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MAINE


RYAN WILLIS,                                                Civil Action No.

         Plaintiff,
v.

WESTGATE & SONS TRANSPORT LLC

         Defendants,


                                         COMPLAINT


         Plaintiff, by and through his undersigned counsel, files this complaint for unpaid wages

against the above-listed Defendant.

                                 STATEMENT OF THE CASE

         1.      Defendant Westgate & Sons Transport LLC (“Westgate”) formerly employed

Plaintiff Ryan Willis as a driver hauling cargo trailers in and through Maine, New Hampshire,

Connecticut, New York, New Jersey, Pennsylvania, Maryland, Delaware, Virginia, North

Carolina, South Carolina and Georgia.

         2.      Defendant Westgate employed Willis for a short period from approximately the

end of May 2017 through June 2017, then abruptly terminated his employment and refused to

pay Willis any wages at all.

         3.      Defendant Westgate violated the Fair Labor Standards Act (“FLSA”), 29 U.S.C.

§§ 201 et seq. and Maine wage laws 26 M.R.S. §§ 621-A, 626-A, 629, 631, 664, and 670.

         4.      Defendant Westgate’s violations of the FLSA and Maine’s wage laws were

willful and deliberate.



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          5.    Plaintiff Willis seeks compensation for the Defendant’s violations of the FLSA

and Maine’s wage laws.

                          PARTIES, JURISDICTION, AND VENUE

          6.    Plaintiff Ryan Willis is a resident of Kennebec County, Maine.

          7.    Defendant Westgate & Sons Transport LLC is a Maine business with principal

address of 949 Main St., Pittsfield, ME 04967, which does business in Maine, New Hampshire

and multiple other states on the East Coast.

          8.    Jurisdiction is conferred upon this court by 28 U.S.C. § 1331, as this case arises

under the laws of the United States. This action arises under the Fair Labor Standards Act, 29

U.S.C. §§ 201 et seq.

          9.    Plaintiff requests that this Court exercise supplemental jurisdiction over his claims

arising under the laws of Maine, pursuant to 13 U.S.C. § 1367.

          10.   Venue is proper pursuant to 28 U.S.C. § 1391(b)(2), because most of the events

and omissions giving rise to the Plaintiff’s claims occurred in the District of Maine, and the

Defendant is headquartered, conducts substantial business, and/or resides in the state of Maine.

                                               FACTS

          11.   Defendant Westgate operates a business hauling cargo through the Eastern United

States.

          12.   Plaintiff Ryan Willis was employed by Defendant Westgate as a driver from the

end of May 2017 through June 2017, driving cargo containers in and through Maine, New

Hampshire and multiple other states on the East Coast.

          13.   Upon information and belief, Defendant Westgate has over $500,000 in gross

receipts per year.



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       14.       Willis, at the direction of Defendant Westgate, routinely handled goods that had

traveled in interstate commerce and has driven cargo containers in and through various locations

in Maine, New Hampshire and multiple other states on the East Coast.

       15.       Defendant Westgate did not have a poster detailing the minimum wage at their

workplace.

       16.       Defendant Westgate agreed to pay Willis based upon the completion of certain

deliveries. But, as described further below, Defendant Westgate failed to make any payment of

any kind at all to Willis despite Willis’ completion of assigned tasks.

                     WESTGATE FAILS TO PAY WILLIS ANY WAGES

       17.       Upon the completion of a delivery in June 2017, Defendant Westgate informed

Willis his employment was terminated.

       18.       Defendant Westgate failed to pay Willis any wages at all for his work.

       19.       Defendant Westgate refused to communicate with Willis regarding the reasoning

for his termination and Westgate’s failure to pay Willis any wages, despite Willis’ multiple

attempts to communicate with Defendant Westgate.

                 WESTGATE FAILS TO CORRECT ITS FAILURE TO PAY

       20.       As noted above, Plaintiff Willis repeatedly attempted to contact Defendant

Westgate to determine the specific cause of his termination and to recover wages he was owed.

Defendant Westgate failed to respond to Willis.

       21.       Ultimately, Plaintiff Willis, through counsel, demanded all unpaid wages and his

employment files by certified letter dated July 20, 2017, which was delivered to Defendants on

July 22, 2017.




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       22.     Defendant Westgate failed to provide Willis with a copy of his employment files

or provide any response whatsoever within 10 days, as required by 26 M.R.S. § 631.

       23.     As of the date of this filing, Defendant Westgate has failed to provide Willis with

any employment files or response whatsoever.

       24.     Defendant Westgate has refused to correct their failure to pay Plaintiff Willis

notwithstanding the receipt of complaints.

                                    CLAIMS FOR RELIEF

                                   COUNT I:
                      BREACH OF MAINE WAGE PAYMENT LAW

       25.     Plaintiff Willis incorporates all previous paragraphs.

       26.     Defendant Westgate employed Willis as a driver.

       27.     Defendant Westgate failed to pay Plaintiff Willis all wages due on payday

pursuant to the employment agreement that incorporated by law all applicable state wage laws.

       28.     Defendant Westgate failed to pay Plaintiff Willis for all hours worked as required

under 26 M.R.S. § 629 by engaging him in non-compensatory activities for the benefit of the

employer.

       29.     The Defendants failed to pay all wages due Plaintiff Willis all wages due on

payday as required under 26 M.R.S. § 621-A.

       30.     After leaving employment, Plaintiff Willis demanded payment of the late and

unpaid wages in compliance with 26 M.R.S. §§ 626 and 626-A. Defendants indisputably owed

Plaintiff Willis payment of all wages due.

       31.     Defendant Westgate failed to pay Plaintiff Willis within eight days of the due

date, nor within eight days of demand, and are liable pursuant to ME. REV. STATE. TIT. 26 §626-




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A for unpaid wages, a reasonable rate of interest, costs of suit including reasonable attorneys;

fees, and an additional amount equal to twice the amount of unpaid wages as liquidated damages.

                                   COUNT II:
                    BREACH OF THE MAINE MINIMUM WAGE LAW

       32.     Plaintiff Willis incorporates all previous paragraphs.

       33.     Defendant Westgate employed Plaintiff Willis under 26 M.R.S. § 663.

       34.     Defendant Westgate failed to pay Plaintiff Willis the minimum wage of $9 per

hour required under 26 M.R.S. § 664 by failing to pay him any wages whatsoever.

       35.     Accordingly, under 26 M.R.S. § 670 Defendant Westgate is liable to Plaintiff

Willis for unpaid wages adjudged to be due, an additional amount equal to such wages as

liquidated damages, and costs of suit, including reasonable attorneys’ fees.

                            COUNT III:
   BREACH OF EMPLOYERS’ OBLIGATION TO PROVIDE EMPLOYMENT FILE

       36.     Plaintiff Willis incorporates all previous paragraphs.

       37.     Plaintiff Willis, through counsel, requested a copy of any employment files held

by Defendant Westgate regarding his employment via certified letter dated July 20, 2017, which

was delivered on July 22, 2017.

       38.     As of the date of this filing, Defendant Westgate has failed to respond in any

manner to Willis’ request.

       39.     Accordingly, under 26 M.R.S. § 631, Defendant Westgate was required to provide

Willis with a copy of his employment file within 10 days of his request. Having failed to do so,

Defendant Westgate is subject to a civil forfeiture of $25 per day for each day that the failure has

continued, which as of the date of this filing totals $250. Further, Defendant Westgate is subject




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to equitable relief, including an injunction, as the Court may deem necessary and proper and may

award Plaintiff Willis the reasonable costs of suit including a reasonable attorney’s fee.

                                   COUNT IV:
                   BREACH OF THE FAIR LABOR STANDARDS ACT
                              28 U.S.C. §§ 201 et seq.

       40.      Plaintiff Willis incorporates all previous paragraphs.

       41.     During all times relevant to this action, Plaintiff Willis was employed by

Defendant Westgate as defined by 29 U.S.C. § 203(g).

       42.     Defendant Westgate failed to pay Plaintiff Willis the federal minimum wage of

$7.25 per hour by failing to pay him any wages at all.

       43.     During all times relevant to this action, Plaintiff Willis was employed by

Defendant Westgate in an “enterprise engaged in commerce or in the production of goods for

commerce,” as defined by 29 U.S.C. § 203(s)(1).

       44.     Upon information and belief, Defendant Westgate had annual gross revenue in

excess of $500,000 and employed two or more persons, including Plaintiff Willis, who handled

and worked on materials which had been moved in interstate commerce.

       45.     Plaintiff Willis is entitled to unpaid minimum wages, liquidated damages,

attorneys’ fees and costs pursuant to 29 U.S.C. § 216(b).

                                 DEMAND FOR JURY TRIAL

       Plaintiff Willis demands a jury for all issues so triable.




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                                 PRAYER FOR RELIEF

    Plaintiff respectfully request that this Court enter an order or orders:

    a. Awarding the Plaintiff unpaid wages pursuant to 26 M.R.S. §§ 626, 626-A and/or

       670;

    b. Awarding the Plaintiff liquidated damages and penalties pursuant to 26 M.R.S. §§

       626-A and 670;

    c. Awarding the Plaintiff costs and attorney fees pursuant to 26 M.R.S. §§ 626-A and/or

       670;

    d. Awarding the Plaintiff costs and attorneys fees pursuant to 26 M.R.S. § 631;

    e. Compelling Defendant Westgate to produce to Plaintiff a copy of all employment

       files in its possession concerning Plaintiff’s employment pursuant to 26 M.R.S. §

       631;

    f. Awarding the Plaintiff unpaid wages pursuant to 29 U.S.C. §§ 207 & 216;

    g. Awarding the Plaintiff liquidated damages and penalties pursuant to 29 U.S.C. §§ 207

       & 216;

    h. Awarding the Plaintiff costs and attorneys’ fees pursuant to 29 U.S.C. §§ 207 & 216;

    i. Granting such other relief as this Court deems just and proper.




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Dated: August 11, 2017

                                              Respectfully Submitted,


                                               /s/ Peter Mancuso
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